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No. 3: 23- ev- 00278 US. District Cour
Middle District of TN

Cedric Greene
Vs.
Frontier Airlines, Inc.

UNITED STATES DISTRICT COURT- MIDDLE DISTRICT OF TENNESSEE
719 Church Street
Nashville, Tennessee 37203

NOTICE OF APPEAL

Cedric Greene
501 East 6" Street
Los Angeles, California 90021
Tel: (323) 972- 9966
Email: Cedricgreene33@yahoo.com

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NOTICE OF APPEAL OF CEDRIC GREENE

Notice Is Hereby Given that Cedric Greene appeals to the United States Court of Appeals for the
Sixth Circuit from the Order of April 23, 2023, and the appeal notice should be accepted within the
meaning of Federal Rules of Appellate Procedure 4(a)(1).

If any questions or clarifications, Greene will address them with the above Court if transmittal of
Greene’s proposes appeal will occur.

Dated: May 11, 2023 Signed by: wl Ye { 2

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